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 8   Attorneys for Plaintiff, and all others similarly situated
 9
                           IN THE UNITED STATES DISTRICT COURT
10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

11   SERINA ARANDA, individually, and on                Case No.
     behalf of all others similarly situated,
12                                                      CLASS ACTION COMPLAINT
                    Plaintiff,
13                                                      (1)   Violation of Fair Credit Reporting Act,
            vs.                                               15 U.S.C. § 1681, et seq.; and
14                                                      (2)   Violation of the California Consumer
     LOANDEPOT.COM, LLC, and DOES 1-                          Credit Reporting Agencies Act, Cal. Civ.
15   10, inclusive,                                           Code § 1785.1, et seq.
16                  Defendants.
                                                        Jury Trial Demanded
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 1           Plaintiff SERINA ARANDA (“Plaintiff”), individually and on behalf of all other

 2   members of the public similarly situated, allege as follows:

 3                                         INTRODUCTION

 4           1.     Plaintiff brings this action under the Fair Credit Reporting Act, 15 U.S.C. § 1681,

 5   et seq. (the “FCRA”) and the California Consumer Credit Reporting Agencies Act, Cal. Civ.

 6   Code § 1785.1 et seq. (the “CCRAA”) against Defendant LOANDEPOT.COM, LLC

 7   (hereinafter “Defendant”) to stop Defendant’s practice of using or obtaining consumer credit

 8   reports without a permissible purpose and to obtain redress for a nationwide class of consumers

 9   (“Class Members”).

10           2.     Defendant performed hard inquiries into Plaintiff’s and Class Members’

11   consumer credit reports without a permissible purpose, in violation of 15 U.S.C. § 1681b(f) and

12   Cal. Civ. Code § 1785.31.

13           3.     Plaintiff seeks statutory, actual, and punitive damages for herself and class

14   members, injunctive and declaratory relief, and attorneys’ fees and costs.

15                                  JURISDICTION AND VENUE

16           4.     This Court has jurisdiction of this matter under 28 U.S.C. § 1331 and 15 U.S.C.

17   § 1681p. Defendant regularly conducts business within the State of California and violated

18   Plaintiff’s and Class Members’ rights under the FCRA in the State of California as alleged more

19   fully below.

20           5.     Venue is proper in the Eastern District of California under 28 U.S.C. § 1391(b)

21   because a substantial portion of the events giving rise to Plaintiff’s claims occurred in this

22   District.

23                                              PARTIES

24           6.     Plaintiff SERINA ARANDA is a citizen and resident of the State of California,

25   County of Sacramento, and is a “consumer” as defined by 15 U.S.C. § 1681a(c).

26           7.     Defendant LOANDEPOT.COM, LLC is a Delaware limited liability company

27   with its principle place of business located in California and is a “person” as defined by 15

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 1   U.S.C. §1681a(b).

 2          8.      Plaintiff is informed and believes, and thereon alleges, that each and all of the

 3   acts and omissions alleged herein were performed by, or are attributable to, Defendant and/or

 4   its employees, agents, and/or third parties acting on its behalf, each acting as the agent for the

 5   other, with legal authority to act on the other’s behalf. The acts of any and all of Defendant’s

 6   employees, agents, and/or third parties acting on its behalf, were in accordance with, and

 7   represent, the official policy of Defendant.

 8          9.      Plaintiff is informed and believes, and thereon alleges, that said Defendant is in

 9   some manner intentionally, negligently, or otherwise responsible for the acts, omissions,

10   occurrences, and transactions of each and all of its employees, agents, and/or third parties acting

11   on its behalf, in proximately causing the damages herein alleged.

12          10.     At all relevant times, Defendant ratified each and every act or omission

13   complained of herein. At all relevant times, Defendant aided and abetted the acts and omissions

14   as alleged herein.

15          11.     The above-named Defendant, and its subsidiaries and agents, are collectively

16   referred to as “Defendants.” The true names and capacities of the Defendants sued herein as

17   DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who therefore

18   sues such Defendants by fictitious names. Each of the Defendants designated herein as a DOE

19   is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of Court to

20   amend the Complaint to reflect the true names and capacities of the DOE Defendants when such

21   identities become known.

22                                    FACTUAL ALLEGATIONS

23          12.     On or around August 14, 2019, Plaintiff sought to obtain options for refinancing

24   from LendingTree, an online lending marketplace.

25          13.     The only information Plaintiff provided to LendingTree was her name, contact

26   information, and loan amount.

27          14.     Plaintiff did not disclose her social security number or date of birth.

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 1          15.     On or about August 15, 2019, Plaintiff was contacted by a representative of

 2   Defendant, who requested that she verify her date of birth and last four digits of her social

 3   security number.

 4          16.     Plaintiff believed that Defendant’s representative, who identified himself as

 5   Ryan Singer (“Singer”), was requesting her information for purposes of verifying her identity.

 6          17.     Unbeknownst to Plaintiff, Defendant had acquired her personal information from

 7   LendingTree.

 8          18.     Shortly after her conversation with Defendant, Plaintiff discovered a hard inquiry

 9   on her credit report.

10          19.     Defendant never asked for Plaintiff’s permission to place hard inquiry into her

11   consumer credit report, and Plaintiff never gave Defendant her implied or express consent to do

12   so.

13          20.     On August 19, 2019, Plaintiff received an email from Defendant’s representative,

14   Aara Madland (“Madland”).

15          21.     In said email, Madland wrote, “[w]hen submitting a loan inquiry through

16   lendingtree.com, the consumer provides consent to pull a soft credit inquiry.” (emphasis added).

17          22.     Madland further stated that “[b]ased on the review of the loan file and the

18   recorded call, [Singer] did not advise that he would be pulling a tri-merge credit report, nor did

19   you provide verbal consent to do so.”

20          23.     As a result of Defendant’s unlawful and impermissible pull of her credit report,

21   Plaintiff suffered damage to her credit and monetary loss connected with the delay caused to

22   her refinancing.

23          24.     Plaintiff has also had to expend significant time and effort in attempting to

24   remedy Defendant’s damaging error.

25          25.     Defendant’s impermissible inquiry negatively reflects upon Plaintiff, Plaintiff’s

26   credit report, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit worthiness.

27          26.     Plaintiff has been damaged, and continues to be damaged, in the following ways:

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 1                              a. Emotional distress and mental anguish associated with having an

 2                                  unauthorized hard inquiry placed on her consumer credit report;

 3                              b. Decreased credit score and out of pocket losses related to delays

 4                                  in refinancing.

 5                              c. Out of pocket expenses associated with disputing the information

 6                                  only to find the information to remain on the credit report;

 7                              d. At all times pertinent hereto, Defendant was acting by and through

 8                                  its agents, servants and/or employees who were acting within the

 9                                  course and scope of their agency or employment, and under the

10                                  direct supervision and control of Defendant.

11                              e. At all times pertinent hereto, the conduct of Defendant, as well as

12                                  that of its agents, servants and/or employees, was malicious,

13                                  intentional, willful, reckless, and in grossly negligent disregard for

14                                  federal law and the rights of Plaintiff.

15          27.     Defendant violated section 1681b(f) of the FCRA by willfully and negligently

16   using or obtaining a consumer report without a permissible purpose.

17          28.     Defendant’s conduct was a direct and proximate cause, as well as a substantial

18   factor, in causing the injuries, damages and harm to Plaintiff that are outlined more fully above,

19   and as a result, Defendant is liable to compensate Plaintiff for the full amount of statutory, actual

20   and punitive damages, along with attorneys’ fees and costs, as well as such other relief permitted

21   by law.

22          29.     As a result of Defendant’s unlawful practices, described herein, Plaintiff has

23   suffered emotional distress, wasted time, and anxiety.

24                                 CLASS ACTION ALLEGATIONS

25          30.     Plaintiff brings this action, on behalf of herself and all others similarly situated,

26   and thus, seeks class certification under Federal Rule of Civil Procedure § 23.

27          31.     The class Plaintiff seeks to represent (the “Class”) is defined as follows:

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                    All consumers, who, between the applicable statute of limitations
 1                  and the present, had hard inquiries placed on their consumer credit
                    reports by Defendant without their authorization.
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 3          32.     As used herein, the term “Class Members” shall mean and refer to the members

 4   of the Class described above.

 5          33.     Excluded from the Class is Defendant, its affiliates, employees, agents, and

 6   attorneys, and the Court.

 7          34.     Plaintiff reserves the right to amend the Class, and to add additional subclasses,

 8   if discovery and further investigation reveals such action is warranted.

 9          35.     Upon information and belief, the proposed class is composed of thousands of

10   persons. The members of the class are so numerous that joinder of all members would be

11   unfeasible and impractical.

12          36.     No violations alleged in this complaint are contingent on any individualized

13   interaction of any kind between Class Members and Defendant.

14          37.     Rather, all claims in this matter arise from the identical, unauthorized actions of

15   Defendant toward Class Members.

16          38.     There are common questions of law and fact as to the Class Members that

17   predominate over questions affecting only individual members, including but not limited to:

18                  (a)    Whether Defendant violated various provisions of the FCRA including

19                         but not limited to 15 U.S.C. § 1681b;

20                  (b)    Whether Defendant violated Cal Civ. Code § 1785.31;

21                  (c)    Whether Plaintiff and Class Members have been injured by Defendant’s

22                         conduct;

23                  (d)    Whether Plaintiff and Class Members are entitled to declaratory and/or

24                         injunctive relief; and

25                  (e)    The method of calculation and extent of damages for Plaintiff and Class

26                         Members.

27          39.     Plaintiff is a member of the Class she seeks to represent.

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 1             40.   Plaintiff has no interest adverse or antagonistic to the interests of the other Class

 2   Members.

 3             41.   Plaintiff is qualified to, and will, fairly and adequately protect the interests of

 4   each Class Member. Plaintiff’s claims are typical of all Class Members as demonstrated herein.

 5             42.   Plaintiff will thoroughly and adequately protect the interests of the Class, having

 6   retained qualified and competent legal counsel to represent herself and the Class.

 7             43.   Common questions will predominate, and there will be no unusual manageability

 8   issues.

 9                                     FIRST CAUSE OF ACTION

10                            Violation Of The Fair Credit Reporting Act

11                                        15 U.S.C. § 1681, et seq.

12             44.   Plaintiff reincorporates by reference all of the preceding paragraphs.

13             45.   Plaintiff brings this cause of action for herself and on behalf of the Class.

14             46.   Defendant’s unauthorized inquiry into Plaintiff and Class Members’ consumer

15   credit reports constitutes one or more violations of 15 U.S.C. § 1681, et seq.

16             47.   Section 1681b(f) of the FCRA prohibits any person from using or obtaining “a

17   consumer report for any purpose unless the consumer report is obtained for a purpose for which

18   the consumer report is authorized to be furnished” under section 1681b of the FCRA.

19             48.   As admitted by its own representative, Defendant never obtained Plaintiff’s

20   consent or authorization to place a hard inquiry on her consumer credit report.

21             49.   As a result of the above violations of the FCRA, Defendant is liable to Plaintiff

22   and the Class Members for actual damages, statutory damages, attorney’s fees and costs.

23             50.   Defendant’s violations of the FCRA were willful, giving rise to liability under

24   15 U.S.C. § 1681n, or in the alternative, negligent, giving rise to liability under 15 U.S.C. §

25   1681o.

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 1                                 SECOND CAUSE OF ACTION

 2            Violation Of The California Consumer Credit Reporting Agencies Act

 3                                  Cal Civ. Code § 1785.1, et seq.

 4          51.    Plaintiff reincorporates by reference all of the preceding paragraphs.

 5          52.    Plaintiff brings this cause of action for herself and on behalf of the Class.

 6          53.    Section 1785.31 of the CCRAA prohibits obtaining a consumer credit report

 7   under false pretenses or knowingly without a permissible purpose.

 8          54.    As detailed herein, Defendant lacked a permissible purpose at all times with

 9   respect to using and/or obtaining Plaintiff’s and Class Members’ consumer credit reports.

10          55.    As a result of the above violations of the CCRAA, Defendant is liable to Plaintiff

11   and the Class Members for actual damages, statutory damages, attorney’s fees and costs.

12                                     PRAYER FOR RELIEF

13          56.    Plaintiff, on behalf of herself and the Class, requests the following relief:

14                 (a)    An order certifying the Class and appointing Plaintiff as Representative

15                        of the Class;

16                 (b)    An order certifying the undersigned counsel as Class Counsel;

17                 (c)    An order requiring Defendant, at its own cost, to notify all Class Members

18                        of the unlawful conduct herein;

19                 (d)    Actual damages suffered by Plaintiff and Class Members;

20                 (e)    Punitive damages, as allowable, in an amount determined by the Court or

21                        jury;

22                 (f)    All reasonable and necessary attorneys’ fees and costs provided by

23                        statute, common law or the Court’s inherent power;

24                 (g)    Pre- and post-judgment interest; and

25                 (h)    All other relief, general or special, legal and equitable, to which Plaintiff

26                        and Class Members may be justly entitled as deemed by the Court.

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 1                                 REQUEST FOR JURY TRIAL

 2         57.    Plaintiff requests a trial by jury as to all claims so triable.

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     Dated: April 13, 2021                Respectfully submitted,
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 7                                        LAW OFFICES OF TODD M. FRIEDMAN, PC

 8
                                               By:    s/Todd M. Friedman
 9                                                   TODD M. FRIEDMAN, ESQ.
10                                                   Attorney for Plaintiff SERINA ARANDA
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